Case 1:25-cv-00604-CJN   Document 33-2   Filed 05/19/25   Page 1 of 3




             EXHIBIT B
        Case 1:25-cv-00604-CJN            Document 33-2       Filed 05/19/25      Page 2 of 3




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


MAIKER ALEJANDRO ESPINOZA
ESCALONA, et al.,

        Plaintiffs,

v.                                                            Civil Action No. 1:25-cv-00604

KRISTI NOEM
Secretary of Homeland Security, et al.,

        Defendants.



                             DECLARATION OF PATRICK MORIN

         I, Patrick Morin, declare the following under 28 U.S.C. § 1746, and state that under

  penalty of perjury the following is true and correct to the best of my knowledge and belief:

  1. I am employed by U.S. Department of Homeland Security (DHS), U.S. Immigration and

      Customs Enforcement (ICE), Enforcement and Removal Operations (ERO), as an Assistant

      Field Office Director (AFOD). I have held this position since July 14, 2024. As the AFOD in

      the ERO Miami Field Office, my responsibilities include managing ERO personnel and

      providing oversight of ICE detention operations housing ICE detainees at the U.S. Naval

      Station Guantanamo Bay (NSGB) in Guantanamo Bay, Cuba.

  2. I provide this declaration based on my personal knowledge, reasonable inquiry, and

      information obtained from various records, systems, databases, other DHS employees, and

      information portals maintained and relied upon by DHS in the regular course of business.

  3. I am aware that this litigation, Espinoza Escalona v. Noem, 1:25-cv-00604 (D.D.C. filed

      Mar. 1, 2025), has been filed in the U.S. District Court for the District of Columbia.




                                                   1
      Case 1:25-cv-00604-CJN           Document 33-2        Filed 05/19/25                     Page 3 of 3




4. I am familiar with the current custody status of each Plaintiff.

5. As of May 16, 2025, two of the ten Plaintiffs – Hijran Malik and Josue De Jesus Torcati

   Sebrian – remain in ICE custody in Arizona and Texas, respectively.

6. One Plaintiff – Janfrank Berrios Laguna – was released on an Order of Supervision on

   April 16, 2025.

7. Only one Plaintiff – Maiker Alejandro Espinoza Escalona – was transferred to NSGB prior to

   his removal, as previously notified to the Court.

8. The remaining Plaintiffs have been removed to their respective countries of origin and are no

   longer in ICE custody.



       I declare, under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information, and belief, as of the time of signature.



Executed this 19th day of May 2025.

                                              PATRICK A         Digitally signed by PATRICK A
                                                                MORIN JR
                                              MORIN JR          Date: 2025.05.19 11:31:07 -04'00'
                                              ____________________________
                                              Patrick Morin
                                              Assistant Field Office Director
                                              Enforcement and Removal Operations
                                              U.S. Immigration and Customs Enforcement
                                              U.S. Department of Homeland Security




                                                 2
